         Case 23-03141 Document 293 Filed in TXSB on 11/07/24 Page 1 of 2
                                                                   United States Bankruptcy Court
                                                                       Southern District of Texas

                                                                          ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT               November 07, 2024
                    FOR THE SOUTHERN DISTRICT OF TEXAS                 Nathan Ochsner, Clerk
                             HOUSTON DIVISION

IN RE:                          §
                                §             CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                            §             CHAPTER 7
                                §
       Debtor.                  §
                                §
JOHN QUINLAN                    §
and                             §
OMAR KHAWAJA                    §
and                             §
OSAMA ABDULLATIF,               §
                                §
       Plaintiffs,              §
                                §
VS.                             §             ADVERSARY NO. 23-3141
                                §
JETALL COMPANIES, INC.          §
and                             §
ARABELLA PH 3201 LLC            §
and                             §
9201 MEMORIAL DR. LLC           §
and                             §
2727 KIRBY 26L LLC              §
and                             §
DALIO HOLDINGS I, LLC           §
and                             §
DALIO HOLDINGS II, LLC          §
and                             §
HOUSTON REAL ESTATE PROPERTIES, §
LLC                             §
and                             §
SHAHNAZ CHOUDHRI                §
and                             §
ALI CHOUDHRI                    §
and                             §
SHEPHERD-HULDY DEVELOPMENT I, §
LLC                             §
and                             §
SHEPHERD-HULDY DEVELOPMENT II, §
LLC                             §
and                             §

1/2
        Case 23-03141 Document 293 Filed in TXSB on 11/07/24 Page 2 of 2




GALLERIA LOOP NOTE HOLDER LLC                    §
and                                              §
A. KELLY WILLIAMS                                §
and                                              §
MOUNTAIN BUSINESS CENTER, LLC                    §
and                                              §
RANDY W WILLIAMS CH7 TRUSTEE                     §
and                                              §
OTISCO RDX LLC                                   §
and                                              §
MCITBE, LLC                                      §
and                                              §
JETALL/CROIX PROPERTIES LP                       §
and                                              §
JETALL/CROIX GP, LLC,                            §
                                                 §
        Defendants.                              §

         ORDER DENYING SECOND MOTION TO CONTINUE (ECF NO. 290)

The second Emergency Motion to Reschedule Deposition is denied with prejudice. The Court

refences its earlier order (ECF No. 288) denying the first motion as the second motion fails to

raise new grounds for a continuance.

       SO ORDERED.

        SIGNED 11/07/2024


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




2/2
